          Case 2:16-cr-00083-JCM-NJK              Document 91        Filed 01/23/17    Page 1 of 5




 1   DANIEL G. BOGDEN
     United States Attorney
 2   PATRICK BURNS
     Assistant United States Attorney
     Nevada State Bar #: 11779
 3   Lloyd D. George United States Courthouse
     501 Las Vegas Boulevard South, Suite 1100
 4   Las Vegas, Nevada 89101
     (702) 388-6336/Fax: (702) 388- 6418
 5
     Attorney for the United States of America
 6
                                UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF NEVADA
 8                                          -OOO-
      UNITED STATES OF AMERICA,
 9
                                    Plaintiff,
                                                          CASE NO: 2:16-CR-00083-JCM-NJK
10       vs.
11    REGINALD ANTHONY LOWE,                              STIPULATION TO CONTINUE
           a/k/a “Red”                                    SENTENCING HEARING
12         a/k/a “Reggie Lowe,”

13
                                    Defendants.
14
               It is hereby stipulated and agreed, by and between Daniel G. Bogden, United States
15
     Attorney, through Patrick Burns, Assistant United States Attorney, and Bret Whipple, Esq.,
16
     counsel for defendant Reginald Anthony Lowe, that sentencing in the above-captioned matter,
17   previously scheduled for January 25, 2017, at 10:00 a.m., be vacated and continued until a time
18   convenient to the Court, but not sooner than sixty (60) days from now.

19             This Stipulation is entered into for the following reasons:

               1.     Defendant Lowe recently passed away while pending sentencing. This information
20
     has been confirmed by the United States Marshals Service.
21
               2.     The Government is requesting an official death certificate so that the case can be
22
     formally dismissed as to Defendant Lowe at the next hearing.
23
               3.     Denial of this request could result in a miscarriage of justice, taking into account
24   the exercise of due diligence.
          Case 2:16-cr-00083-JCM-NJK           Document 91       Filed 01/23/17      Page 2 of 5




 1
             4.     This is the first request for a continuance of Defendant Lowe’s sentencing filed in
 2   this matter.
 3

 4   Dated this 23 day of January, 2017

 5                                                       DANIEL G. BOGDEN
                                                         United States Attorney
 6
            /s/                                                /s/
 7   By: _______________________                         By:____________________
         BRET WHIPPLE, Esq.                                PATRICK BURNS
 8       Counsel for Defendant LOWE                        Assistant United States Attorney

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          Case 2:16-cr-00083-JCM-NJK             Document 91        Filed 01/23/17     Page 3 of 5




 1                             UNITED STATES DISTRICT COURT
 2
                                    DISTRICT OF NEVADA
                                           -OOO-
 3    UNITED STATES OF AMERICA,

 4                                 Plaintiff,
                                                         CASE NO: 2:16-CR-00083-JCM-NJK
 5       vs.

      REGINALD ANTHONY LOWE,
 6         a/k/a “Red”
           a/k/a “Reggie Lowe,”                              FINDINGS OF FACT AND ORDER
 7

 8                                 Defendants.

 9             Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
10   finds that:

11             1.     Defendant Lowe recently passed away while pending sentencing. This information

12   has been confirmed by the United States Marshals Service.

               2.     The Government is requesting an official death certificate so that the case can be
13
     formally dismissed as to Defendant Lowe at the next hearing.
14
               3.     Denial of this request could result in a miscarriage of justice, taking into account
15
     the exercise of due diligence.
16             4.     This is the first request for a continuance of Defendant Lowe’s sentencing filed in
17   this matter.

18
               For all of the above-stated reasons, the ends of justice would be served best by a
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     continuance of the sentencing hearing date.
20   ///

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         Case 2:16-cr-00083-JCM-NJK         Document 91      Filed 01/23/17    Page 4 of 5




 1

 2                                            ORDER
 3         IT IS FURTHER ORDERED that the sentencing hearing in United States v. Reginald

 4   Lowe, 2:16-CR-00083-JCM-NJK, previously scheduled for January 25, 2017 at 10:00 a.m. is

 5                                Monday, March 27, 2017 at 10:00 a.m.
     vacated and continued until ______________________.

 6
                                                     Dated this 23rd
                                                                ___day of January, 2017
 7
                                                     Dated this 23rd day of January, 2017.
 8
                                                     By: _ _______________________
 9                                                       Judge James C. Mahan
                                                         United States District Court Judge
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         Case 2:16-cr-00083-JCM-NJK            Document 91          Filed 01/23/17   Page 5 of 5




 1
                                           Certificate of Service
 2            I, Veronica Criste, hereby certify that I am an employee of the United States Department
 3   of Justice, and that on this day I served a copy of the following: STIPULATION TO CONTINUE

 4   SENTENCING HEARING, upon counsel for all defendants appearing in this matter via the

     CM/ECF system, by electronically filing said document.
 5

 6   Dated:     January 23, 2017
 7
                            /s/ Veronica Criste
 8                          Legal Assistant to PATRICK BURNS
                            Assistant United States Attorney
 9                          District of Nevada

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